          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2092 Filed 11/30/20 Page 1 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Timothy King, et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 20-cv-13134
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Gretchen Whitmer, et al                                              )            Hon. Linda V. Parker
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Gretchen Whitmer



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Gregory J. Rohl
               The Law Offices of Gregory J. Rohl, P.C.
               41850 W. 11 Mile Road
               Suite 110
               Novi, MI 48375


       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                    By: s/LGranger
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: November 30, 2020
          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2093 Filed 11/30/20 Page 2 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-cv-13134
                                                               Hon. Linda V. Parker

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Gretchen Whitmer
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2094 Filed 11/30/20 Page 3 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Timothy King, et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 20-cv-13134
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Gretchen Whitmer, et al                                              )            Hon. Linda V. Parker
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Jocelyn Benson



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Gregory J. Rohl
               The Law Offices of Gregory J. Rohl, P.C.
               41850 W. 11 Mile Road
               Suite 110
               Novi, MI 48375


       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                    By: s/LGranger
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: November 30, 2020
          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2095 Filed 11/30/20 Page 4 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-cv-13134
                                                               Hon. Linda V. Parker

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Jocelyn Benson
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2096 Filed 11/30/20 Page 5 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Timothy King, et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 20-cv-13134
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Gretchen Whitmer, et al                                              )            Hon. Linda V. Parker
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Michigan Board of State Canvassers



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Gregory J. Rohl
               The Law Offices of Gregory J. Rohl, P.C.
               41850 W. 11 Mile Road
               Suite 110
               Novi, MI 48375


       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                    By: s/LGranger
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: November 30, 2020
          Case 2:20-cv-13134-LVP-RSW ECF No. 16, PageID.2097 Filed 11/30/20 Page 6 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-cv-13134
                                                               Hon. Linda V. Parker

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Michigan Board of State Canvassers
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
